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11                                 UNITED STATES DISTRICT COURT

12                               NORTHERN DISTRICT OF CALIFORNIA
13                                    SAN FRANCISCO DIVISION
14

15 THE LOUIS D. BRANDEIS CENTER, INC.;                Case No. 3:23-cv-06133-JD
   JEWISH AMERICANS FOR FAIRNESS IN
16 EDUCATION (JAFE),                                  DECLARATION OF BRYAN H.
                                                      HECKENLIVELY IN SUPPORT OF
17                 Plaintiffs,                        DEFENDANTS’ MOTION TO DISMISS

18          vs.                                       Filed with Notice of Motion and Motion;
                                                      Mem. P & A; Request for Judicial Notice
19 REGENTS OF THE UNIVERSITY OF
   CALIFORNIA; UNIVERSITY OF
20 CALIFORNIA AT BERKELEY; BERKELEY                   Hearing Date:        August 8, 2024
   LAW SCHOOL; MICHAEL DRAKE, in his                  Time:                10:00 am
21 official capacity as President of the University   Place:               Courtroom 11
   of California; CAROL T. CHRIST, in her             Judge:               Hon. James Donato
22 official capacity as Chancellor of the
   University of California, Berkeley; BEN
23 HERMALIN, in his official capacity as
   Provost of the University of California,
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                   Defendants.
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                                                                             Case No. 3:23-cv-06133-JD
                                  DECLARATION OF BRYAN H. HECKENLIVELY
       Case 3:23-cv-06133-JD Document 68-3 Filed 06/10/24 Page 2 of 8




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                                                                   Case No. 3:23-cv-06133-JD
                            DECLARATION OF BRYAN H. HECKENLIVELY
        Case 3:23-cv-06133-JD Document 68-3 Filed 06/10/24 Page 3 of 8




 1          I, Bryan H. Heckenlively, do declare as follows:

 2          1. I am admitted to practice before all of the courts of the State of California and this

 3 Court. I am an attorney at the law firm of Munger, Tolles & Olson LLP and counsel of record for

 4 Defendants in the above-captioned matter. I submit this declaration in support of Defendants’

 5 Motion to Dismiss. I have knowledge of the facts in this declaration based on my personal

 6 knowledge or the direct involvement of other attorneys at my firm. If called as a witness, I could

 7 and would testify competently to the matters set forth herein.

 8          2. Attached as Exhibit 1 is a true and correct copy of the document “Upholding our

 9 values,” available at https://news.berkeley.edu/2024/02/27/upholding-our-values/, which copy was
10 downloaded on June 10, 2024.

11          I declare under penalty of perjury under the laws of the United States of America that the
12 foregoing is true and correct.

13          Executed on June 10, 2024, in Oakland, California.
14

15

16 DATED: June 10, 2024                         MUNGER, TOLLES & OLSON LLP

17

18
                                                By:          /s/ Bryan H. Heckenlively
19                                                         BRYAN H. HECKENLIVELY
                                                      Attorneys for Defendants
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                                DECLARATION OF BRYAN H. HECKENLIVELY
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